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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
________________________________________________________________________

LAFAYETTE LINEAR,                      )
                                       )
                   Plaintiff,          )
                                       )
            v.                         )    Case Number 15-CV-7653
                                       )
VILLAGE OF UNIVERSITY PARK,            )    Hon. Harry D. Leinenweber
ILLINOIS, an Illinois Home Rule        )    Judge Presiding.
Municipality, and VIVIAN COVINGTON, )
Mayor of UNIVERSITY PARK, ILLINOIS, )       JURY TRIAL DEMANDED.
                                       )
                   Defendants.         )
________________________________________________________________________

 LINEAR’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR
                     SUMMARY JUDGMENT

                                   INTRODUCTION

       Due process requires the state to provide a hearing before stripping someone of a

protected property right. The Defendants refused Linear that opportunity for no reason.

Attempting to avoid these realities, the Defendants pin their hopes on Michalowicz v.

Village of Bedford Park, 528 F.3d 530 (7th Cir. 2008). But Michalowicz is distinguished

because that plaintiff received everything Linear did not: notice, a pre-termination

hearing, and a post-termination hearing. Linear was summarily fired, and when he twice

sought a hearing, the Defendants did not bother to respond. Summary judgment for the

Defendants is thus improper.




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                                          ARGUMENT

       A.     The Defendants’ anemic legislative immunity assertion is waived, and even
              if considered, fails.
       The Defendants contend legislative immunity defeats Linear’s claim. Motion at 5,

n. 1. Buried in a three-sentence footnote, this argument is waived as a matter of law. The

Seventh Circuit holds that a party can waive an argument by presenting it only in an

undeveloped footnote. Harmon v. Gordon, 712 F.3d 1044, 1053 (7th Cir. 2013). See also

Parker v. Franklin Cnty. Cmty. Sch. Corp., 667 F.3d 910, 924 (7th Cir. 2012) (argument

relegated to a footnote is waived); Long v. Teachers’ Ret. Sys. of Illinois, 585 F.3d 344,

349 (7th Cir. 2009) (same).

       Also imperiling the Defendants’ legislative immunity argument is its terseness.

Light on reasoning and heavy on conclusion, the argument is further waived under

Seventh Circuit precedent. See United States v. Berkowitz, 927 F.2d 1376, 1384 (7th Cir.

1991) (“perfunctory and undeveloped arguments, and arguments that are unsupported by

pertinent authority, are waived.”); United States v. Dunkel, 927 F.2d 955, 956 (7th Cir.

1991) (“A skeletal argument, really nothing more than an assertion, does not preserve a

claim.”). The Defendants thus waive their legislative immunity assertion.

       Even if the Court considers Defendants’ argument, they fare no better. Defendants

contend “local legislators are absolutely immune from suit under § 1983 for their

legislative activities,” and incorrectly cite to “Brogan” v. Harris, 523 U.S. 449 (1998).

The case is actually Bogan v. Harris, and it is found at page 44 of the U.S. reports. Bogan

is limited to acts completely within the legislative sphere and applies only to suits seeking


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to impress individual liability. As many federal courts hold, “[t]here are two reasons why

common law legislative immunity has no application to this case. First, such immunity

only extends to Board members sued in their individual capacities, and does not shield

the County and the Board, as entities, from constitutional review of their actions. Second,

legislative immunity only applies to activities integral to the legislative process and does

not embrace non-legislative acts such as opening prayers.” Doe v. Pittsylvania Cnty., 842

F.Supp.2d 906, 916 (W.D. Va. 2012). Further, the Supreme Court “has left no doubt that

municipalities and local governments are not entitled to immunity from suits under

section 1983.” Berkley v. Common Council of Charleston, 63 F.3d 295, 296 (4th Cir.

1995). Berkley concluded that a municipality is not immune from section 1983 liability

for unconstitutional legislative activities. 63 F.3d at 296. Berkley explained:

        Our holding today that a municipality does not enjoy immunity with respect to the
        acts of its legislative body . . . should come as no surprise. In fact, every other
        circuit that has considered this issue has either held or presumed that a
        municipality is not entitled to absolute legislative immunity for suits brought
        under section 1983.
Id. at 300.

        Here, the Mayor is sued in her official capacity and there is no immunity.1

        B.      Linear’s procedural due process rights were eviscerated.

        Defendants next argue that due process concerns are not implicated. First, they

raise a red herring—that because Linear did not challenge the constitutionality of the




1
    Linear agrees that Mayor Covington was sued solely in her official capacity.

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applicable ordinances, there is no substantive due process claim. But Linear has never

raised a substantive due process claim and does not advance such a claim now.

       Defendants then argue that because an adequate state-law remedy was “available,”

i.e. the Illinois Administrative Review Act (“ARA”), 735 ILCS 5/3-101, Linear’s due

process claims fail, relying solely on Michalowicz v. Village of Bedford Park, 528 F.3d

530 (7th Cir. 2008). Under this case, they claim that Linear could have proceeded under

the ARA. They are in error. Linear’s summary judgment memorandum disposes of this

argument. Dkt. 37 at pg. 9. The Defendants ignore the prerequisites to administrative

review: to be able to seek administrative review under the ARA, there must be an

affirmative vote by municipal authorities at an open meeting. Here, the meeting and vote

to terminate Linear occurred at a closed session from which Linear was barred. Linear’s

R. 56.1, ¶¶ 22, 26-28, Linear’s Response to Defendants’ R. 56.1 at ¶ 26.

       Further, there must be an approved final, written decision memorializing the

agency’s decision. If not approved, the decision is neither valid nor final. Baldermann v.

Bd. of Trustees of the Police Pension Fund, Village of Chicago Ridge, 2015 IL. App (1st)

140482 ¶¶ 31-34 (Ill. App. Ct. 2015). Nor can Linear seek administrative review of the

unlawful decision to fire him as the Mayor is not an administrative body as defined under

the ARA. See Linear’s Memorandum Supporting Summary Judgment (“Memorandum”).

       The Defendants further claim that Linear’s due process claims must be dismissed.

However, the Defendants fail to distinguish the due process rights accruing at pre- and

post-termination hearings. The Memorandum at pages 5 and 8 lays out the process

required which was denied to him. The Defendants’ only explanation is to argue that

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Linear was entitled to only “truncated” process both pre- and post-termination, ignoring

that due process rights can be “truncated” either at the pre-deprivation or post-deprivation

but not both.

       C.       The underlying facts are nothing like Michalowicz.

       The Defendants premise their Motion entirely on Michalowicz v. Village of

Bedford Park, 528 F.3d 530 (7th Cir. 2008). Doc. 32 at 6-11. Because Michalowicz is

inapplicable, their Motion falls.

       In Michalowicz, the plaintiff claimed a biased board conducted his post-

termination hearing and not the independent committee required by state law. 528 F.3d at

534-35. The district court dismissed the plaintiff’s due process claim because he could

challenge the bias in Illinois courts and thus had an adequate remedy. Id. at 536. The

Court affirmed the dismissal, finding the Administrative Review Law provided plaintiff

an adequate remedy. Id. at 538.

       Six facts distinguish Michalowicz from Linear’s experience. First, the

Michalowicz plaintiff received notices of the charges. 528 F.3d at 533. Second, he met

Village officials and discussed the charges before termination. Id. Third, he had a pre-

termination Village Board meeting. Id. Fourth, he made a statement. Id. Fifth, he had a

post-termination hearing. Id. Sixth, there was a final administrative ruling to seek state

court review. Id. at 535.

       Because those six dispositive facts are absent here, Michalowicz does not control.

Linear was simply shown the door—no notice of charges or opportunity to be heard.

When Linear twice invoked his rights and sought a hearing, he was ignored. Since Linear

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received no post-termination process, there was no basis for administrative review.

       Moreover, it is outrageous for the Defendants to falsely claim that Linear attended

and “participated in the meeting which terminated him.” As Linear’s Rule 56.1 statement

of Linear states, and as his reply to Defendants’ Rule 56.1 makes clear, Linear was

excluded from the closed meeting where his termination occurred. See Linear’s R. 56.1

paragraphs ¶¶ 22, 26-28 and Response to Defendants’ Rule 56.1 at ¶ 26. When Linear

invoked his rights and sought a hearing, he was ignored. Since Linear received no post-

termination process, there was no basis for administrative review.

       The Defendants liken this case to Michalowicz because they claim the

Administrative Review Law provides adequate remedies. Motion at 8. This reasoning is

flawed because the Defendants disregard the six distinctions with Michalowicz. Further,

here there is no “final decision” as required by the Administrative Review Act to enable

review. The Defendants’ interpretation of Michalowicz should be rejected because it

rewards the state for snubbing the statutory process.

       The Defendants’ additional reliance on Lynd v. Bristol Kendall Fire Prot. Dist., is

odd because Lynd specifically distinguished Michalowicz. 11 C 7014, 2012 WL 3069391,

*16 (N.D. Ill. July 26, 2012). Lynd rejected the defendant’s reliance on Michalowicz

because the plaintiff alleged “no post-deprivation remedy was available.” Id.

Michalowicz was also distinguished in Wilson v. University Park Bd. of Fire & Police

Comm’rs, No. 15 C 7425, 2016 WL 147916 (N.D. Ill. Jan. 13, 2016). Wilson found that

because state laws regarding the plaintiff’s claims were ignored by the University Park

Village Fire & Police Board before and after termination, the due process claims could

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not be dismissed. Id. at *7-*8. Linear’s Memorandum cites the Illinois Municipal Code

and defendants’ violations of express provisions of it, including notice and reasons for the

action, state laws ignored by University Park, which, as Wilson demonstrates, is no

stranger to ignoring due process.

       In sum, Michalowicz is of no utility here because the Defendants summarily fired

Linear, provided no reason, and ignored his requests for a hearing.

       D.     The Defendants’ position defies Seventh Circuit case law.

       It is undisputed that Linear was summarily fired and his requests for a hearing

were ignored. The Defendants evade due process requirements by claiming that Linear

could pursue an action under the Administrative Review Act. Motion at 8. In other

words, the due process requirements under Linear’s contract and Illinois law are optional.

       Four cases establish why the Defendants’ inherently troubling position falls. First,

in Chaney v. Suburban Bus Division, the Seventh Circuit reinstated a due process claim

because the plaintiff alleged he was never given notice or an opportunity to be heard

before termination. 52 F.3d 623, 628-29 (7th Cir. 1995). Second is Schultz v. Baumgart,

which explained that if an employer “summarily fired [plaintiff], affording him neither

prior notice nor an opportunity to respond, due process would have been violated.” 738

F.2d 231, 236 (7th Cir. 1984). Third, in Lalvani v. Cook County, a letter “bluntly” telling

plaintiff his position was eliminated did not meet “even the minimal standards that apply

when a post-termination procedure is available . . . much less when no such hearing is

offered.” 269 F.3d 785, 788 (7th Cir. 2001). Finally, in Rebirth Christian v. Brizzi, the

Court reversed because “due process clearly required some pre-deprivation opportunity to

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be heard and the appellees provided no opportunity for a hearing, though nothing

prevented them from doing so.” 835 F.3d 742, 749 (7th Cir. 2016) (emphasis in original).

       If Chaney, Schultz, Lalvani, and Rebirth Christian warranted reversal, so does

Linear’s identically abrupt termination and the Defendants’ identical defiance of due

process.

       E.     Linear’s contract is not void.

       University Park is a home rule unit and has additional powers. Ordinances were

passed by the municipality acknowledging the agreements with Linear, including

severance pay. Defendants’ R. 56.1 Statement, paragraph 20. Defendants did not

terminate their written agreement with Linear until May 26, 2015, Linear’s R. 56.1,

paragraph 29. That agreement ran to June 30, 2016 and included a severance provision,

as did the original written agreement. Regardless of the term of the amended agreement,

the severance provision is not “void.” The inclusion of severance provisions in

employment contracts has migrated from the private sector to the public sector. These

provisions are used to attract skilled employees to serve in at-will positions, Village of

Oak Lawn v. Faber, 378 Ill. App. 3d 458, 880 N.E.2d 659, 668 (Ill. App. 2007), and to

retain key employees who might seek employment elsewhere, City of Omaha v. City of

Elkhorn, 276 Neb. 70, 752 N.W.2d 137, 148 (Neb. 2008). Employment contracts that

contain a severance provision provide important protections for managers in government

service who are in the position of “serving at the pleasure of a governing body with the

possibility of being dismissed for any reason at any time.” Sizemore v. City of Madras,

No. 02-74-KI, 2005 WL 273006, at *9 (D. Or. Feb. 2, 2005).

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       Courts have concluded that a provision for severance pay in a government

employee's employment contract is not inconsistent with an employee's at-will status.

Thus, at-will government employees who have a severance pay provision in their

employment contract may still be terminated at any time for any reason. However, the

government employer must honor its contractual obligation to pay severance benefits if

the employee is otherwise entitled to them. McGregor v. Bd. of Comm'rs, 674 F. Supp.

858, 861 (S.D. Fla. 1987); Stephenson v. City of Claycomo, 246 S.W.3d 22, 30 (Mo. Ct.

App. 2007) (holding that a municipality owed a fire chief severance benefits equal to five

years of his gross salary); Myers v. Town of Plymouth, 522 S.E.2d 122, 124 (N.C. Ct.

App. 1999) (upholding a severance provision in an employment contract even though it

“may have deterred” the municipality from terminating the employee). In these

circumstances, the provisions in a government employee's employment contract

regarding the length of the term of employment and severance benefits are not in conflict

and may be given separate effect. Dice v. City of Montesano, 128 P.3d 1253, 1258

(Wash. Ct. App. 2006).

       However, where the municipality has the authority to enter into the agreements

with an official, but a portion thereof may be beyond its power or the power may have

been irregularly exercised, that contract is not void if the result would give the

municipality an unconscionable advantage over the other party. Stahelin v. Board of

Education, School District No. 4, DuPage County, Illinois, 230 N.E.2d 465, 472 (1967);

Village of Oak Lawn v. Faber, 880 N.E.2d 659, 675 (2007) (noting an employment

contract may slightly exceed the term of the municipality’s officers to bridge the

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transitional period as new members take office where the employee is otherwise

terminable at will).

       Here, there is no question the Village could enter into employment agreements

with Linear. Indeed, they entered into a new agreement with him, and passed ordinances

implementing them. On termination, Linear was entitled under the Amendment to Village

Manager Employment Agreement, Section 1, B (14) to six months of regular salary. He

was also entitled under his original Agreement to six months’ severance. Linear’s R.

56.1, Ex. C, section 1, B 15 (a-c).

       The question is properly whether the municipality had the authority to put a

severance provision in either agreement. It did as Faber and other courts have noted.

Such severance provisions are standard in modern employment contracts and should be

enforced even if the remainder of the agreement is “void.” And in Faber the severance

period of nine months was included in his original agreement, just as severance terms

resulting in 6 months of severance pay here were included in Linear’s original and

amended agreements, and therefore are enforceable regardless as to whether the

Amended Agreement is void. The applicable language in the original agreement provides

that the Employee shall receive any unpaid balance of earned salary and benefits due him

on the effective date of termination. These have not been paid, just as the Defendants

have not paid Linear for his actually work since before he was terminated. Payments for

his pension and other funds has yet to be made. As such, the severance provisions are not

void under Faber and must be honored.



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                                 CONCLUSION

      Because due process is not optional, the Court should deny the Defendants’

Motion for Summary Judgment.

January 30, 2017                              Respectfully submitted,


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                               CERTIFICATE OF SERVICE


       I hereby certify that on the 30th day of January 2017, I electronically filed the

foregoing with the clerk of the court using the CM/ECF system which sent the

notification to all counsel of record.



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